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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


   D.T.G.,

                                   Petitioner,           No. 25 Civ. 2161 (JLR)
                       -against-                         STIPULATION AND ORDER
   WILLIAM P. JOYCE, et al.,

                                   Respondents.


       WHEREAS, plaintiff D.T.G. (“Petitioner”), a noncitizen and Venezuelan national, brought

this petition for habeas corpus challenging his detention by U.S. Immigration & Customs

Enforcement (“ICE”) and seeking, among other things, his release from custody;

       WHEREAS, on February 6, 2025, ICE arrested Petitioner and detained him under 8 U.S.C.

§ 1226(a);

       WHEREAS, on March 15, 2025, Petitioner filed this action seeking an order from this

Court requiring his release on account of Temporary Protected Status;

       WHEREAS, on March 16, 2025, based on the specific facts and circumstances of this

matter, Petitioner was released from ICE custody pursuant to an Order of Recognizance and an

alternative to detention, namely, an ankle monitor;

       WHEREAS, on March 31, 2025, ICE modified the conditions of Petitioner’s release and

removed his ankle monitor and replaced it with supervision through a tracking application installed

on his phone under ICE’s Intensive Supervision Appearance Program; therefore
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        IT IS HEREBY STIPULATED AND AGREED by and between the parties, that:

        1.      This action shall be and hereby is dismissed without prejudice and without costs

or attorney’s fees to either party.

        2.      ICE agrees to provide 72 hours’ notice to Petitioner’s counsel before any lawful

redetention of Petitioner; provided that prior notice is not required for redetention on account of

new criminal conduct, to execute a final removal order, or if Petitioner was incidentally detained

during some other operation that was not specifically directed at detaining Petitioner. In the event

that Petitioner is arrested by ICE incidentally during an operation that is not specifically directed

at detaining Petitioner, ICE will promptly notify Petitioner’s counsel.

        3.      The government has agreed to these actions based on the specific facts and

circumstances presented in this matter, and nothing in this stipulation shall be construed as an

admission of liability or wrongdoing by the government, or a concession of rights or arguments

by the government or by the Petitioner; nor shall it be construed to require the government to

provide release to any other noncitizen in similar or dissimilar circumstances, and this agreement

shall in no way be used to undermine the government’s litigation position in any other case.



                            [Remainder of page intentionally left blank]




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         4.      The Court shall retain jurisdiction over any issues that might arise relating to the

enforcement of this Stipulation and Order.

Dated: April 11, 2025
       New York, New York
                                               MATTHEW PODOLSKY
                                               Acting United States Attorney for the
                                               Southern District of New York
                                               Attorney for Respondents

                                By:             s/ Anthony J. Sun
                                               ANTHONY J. SUN
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Dated: April 11, 2025
       New York, New York

                                       By:     s/ Sayoni Maitra1
                                               SAYONI MAITRA
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                                               E-mail: smaitra@legal-aid.org
                                               Attorney for Petitioner

SO ORDERED:

                                               Date: April 11, 2025
HON. JENNIFER L. ROCHON                              New York, New York
UNITED STATES DISTRICT JUDGE




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    Consent for signature obtained pursuant to S.D.N.Y. ECF Rule 8.5(c).


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